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12                                UNITED STATES DISTRICT COURT

13               NORTHERN DISTRICT OF CALIFORNIA, SAN FRANCISCO DIVISION

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15
   ROSEMARIE VARGAS,                                Case No. 19-cv-05081-WHO
16 KISHA SKIPPER, JAZMINE
   SPENCER, DEILLO RICHARDS, JENNY                  DEFENDANT FACEBOOK, INC.’S
17 LIN, and JESSICA TSAI on                         REPLY IN SUPPORT OF REQUEST FOR
   behalf of themselves individually, and on        JUDICIAL NOTICE AND OPPOSITION
18 behalf of all others similarly situated,,        TO REQUEST TO STRIKE
19                  Plaintiffs,                     Judge:   Hon. William H. Orrick
                                                    Date:    November 18, 2020
20         vs.                                      Time:    2:00 p.m.
                                                    Crtrm:   2 – 17th Floor
21 FACEBOOK, INC.,

22                  Defendant.

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                                                -1-                    Case No. 19-cv-05081-WHO
                       DEFENDANT’S REPLY ISO REQUEST FOR JUDICIAL NOTICE AND
                                 OPPOSITION TO REQUEST TO STRIKE
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 1 I.       FACEBOOK’S REQUEST FOR JUDICIAL NOTICE SHOULD BE GRANTED
 2          In support of its motion to dismiss the Second Amended Complaint (“SAC”), Facebook

 3 sought judicial notice of Facebook’s advertising policies, which are publicly available documents

 4 posted prominently on Facebook’s website. See ECF No. 65 (“RJN”). While the SAC should be

 5 dismissed with prejudice regardless of whether the Court takes judicial notice of the specified

 6 materials, Plaintiffs’ opposition, ECF No. 70 (“Opp.”), to Facebook’s narrow RJN is meritless.

 7          Plaintiffs argue that Facebook’s advertising policies were not incorporated by reference in

 8 the SAC. Opp. at 1. But Facebook is not seeking judicial notice of the policies based on the

 9 incorporation-by-reference doctrine, but rather because the facts contained in the policies satisfy the

10 criterion set forth in Federal Rule of Evidence 201(b)(2): they “can be accurately and readily

11 determined from sources whose accuracy cannot reasonably be questioned.” Here, the fact for

12 which Facebook seeks judicial notice—that Facebook’s written advertising policies prohibit

13 discrimination by advertisers, including discriminatory targeting—can be “accurately and readily

14 determined” from public webpages whose accuracy cannot be disputed.

15          First, Plaintiffs argue that this fact is disputed because “the core dispute” in the case “centers

16 on whether Facebook created an advertising system which violated the laws against housing

17 discrimination.” Opp. at 2. But that is irrelevant. The parties dispute the legal issue whether

18 Facebook’s advertising system violated antidiscrimination laws, which should be resolved at the
19 pleading stage for the reasons set forth in Facebook’s motion to dismiss. But no party can

20 reasonably dispute the fact that Facebook’s publicly-available advertising policies prohibit

21 discrimination by third-party advertisers, which is what Facebook requests by judicially notice.

22          Next, Plaintiffs argue that that “Facebook’s current written policies” are irrelevant because

23 their claims are for “housing discrimination which occurred prior to 2020.” Opp. at 1–2. That

24 argument goes to the merits of Facebook’s motion to dismiss, not to the RJN. It is also untrue. At

25 minimum, Facebook’s current policies are relevant to Plaintiffs’ allegations that they are entitled to

26 injunctive relief. See, e.g., SAC ¶ 3 (“although Facebook has agreed to change its practices, there is

27 no guarantee it will continue to comply in the future, which therefore warrants that Facebook be

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 1 enjoined from ever again operating a segregated housing marketplace through its advertising

 2 platforms.”).

 3          In any case, Plaintiffs do not and cannot allege that Facebook’s advertising policies formerly

 4 permitted discriminatory targeting—because they did not. Facebook’s policies have always

 5 prohibited discriminatory targeting by advertisers in the relevant time period. For example, identical

 6 prohibitions appeared in policies for which Facebook sought judicial notice in May 2017 in support

 7 of a motion to dismiss an earlier lawsuit alleging discriminatory advertising based on the same

 8 audience targeting tools at issue here. 1

 9 II.      THERE IS NO BASIS TO STRIKE THE RING AND WONG DECLARATIONS
10          Plaintiffs ask the Court to strike the Declarations of Rosemarie T. Ring (ECF No. 66) and

11 Nicholas Wong (ECF No. 67) in their entirety.

12          The Ring Declaration simply attached the two advertising policies for which Facebook

13 sought judicial notice. Because judicial notice is warranted for the reasons described above, there is

14 no basis for striking the supporting declaration.

15          The Wong Declaration does not attempt to disprove any of Plaintiffs’ allegations of fact.

16 Rather, it states judicially noticeable facts that describe the circumstances under which the New

17 York plaintiffs signed up for Facebook accounts and used the service, as the SAC itself pleads. See

18 SAC ¶¶ 29–38. These facts simply confirm that Plaintiffs agreed to California choice-of-law
19 provisions, both at sign-up and also through their continued use of the Facebook service. See Mot. at

20 28. Notably, Plaintiffs never dispute any of the facts in the Wong Declaration, either in their

21 opposition to the motion to dismiss or their opposition to the RJN. Plaintiffs do not assert that

22 Facebook is wrong about the registration dates and usage histories reflected in the Declaration, or

23 suggest that this information cannot “be accurately and readily determined from sources whose

24 accuracy cannot reasonably be questioned.” Fed. R. Evid. 201(b)(2). Instead of arguing that

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     See Defendant Facebook, Inc.’s Request For Judicial Notice In Support Of Motion To Dismiss,
27 Mobley, et al. v. Facebook, Inc., et al., No. 5:16-cv-06440-EJC (April 3, 2017), ECF No. 34-1, and
   Exhibit A to Declaration of Rosemarie T. Ring In Support Of Motion To Dismiss, Mobley, et al. v.
28 Facebook, Inc., et al., No. 5:16-cv-06440-EJC (April 3, 2017), ECF No. 34-2.
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 1 Facebook has its facts wrong, Plaintiffs’ opposition to Facebook’s motion argues only that the Terms

 2 were insufficiently highlighted at sign-up. ECF No. 69 at 24–25. The Court may therefore take

 3 judicial notice of the judicially noticeable and undisputed facts in the Wong Declaration that the

 4 New York plaintiffs agreed to Facebook’s Terms, including the California choice-of-law provision.

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 6 DATED: October 29, 2020                    MUNGER, TOLLES & OLSON LLP

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 9                                            By:          /s/ Rosemarie T. Ring
                                                   ROSEMARIE T. RING
10                                            Attorneys for Defendant Facebook, Inc.
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